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                  1   Lewis Roca Rothgerber Christie LLP
                      201 East Washington Street, Suite 1200
                      Phoenix, AZ 85004-2595
                  2   Telephone: 602.262.5311


                  3   Ryan D. Pont (State Bar No. 033391)
                      Direct Dial: 602.262.5313
                      Direct Fax: 602.734.3769
                  4   Email: rpont@lewisroca.com

                      Kyle W. Kellar (Pro hac vice)
                  5   Direct Dial: 626.683.4590
                      Direct Fax: 626.577.8800
                      Email: kkellar@lewisroca.com
                  6
                      Attorneys for Plaintiffs
                  7
                                                               UNITED STATES DISTRICT COURT
                  8
                                                                   DISTRICT OF ARIZONA
                  9
                      Wavve Americas, Inc., a Delaware                         Case No. 2:23-cv-01819-MTL
                 10   corporation,
                                                                               DECLARATION OF KYLE W.
                 11                                 Plaintiff,                 KELLAR IN SUPPORT OF
                                                                               PLAINTIFF’S MOTION FOR
                 12                vs.                                         LEAVE TO SERVE DEFENDANT BY
                                                                               ALTERNATIVE MEANS
                 13   Unknown Registrant Of Kokoatv.Net;
                      Unknown Registrant Of Kokoa.Tv; And
Office Address




                 14   Unknown Registrant Of Vidground.Com,
                 15                                 Defendants.
                 16

                 17
                      I, Kyle W. Kellar, declare as follows:
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                                   I am a partner with the law firm of Lewis Roca Rothgerber Christie LLP
                 19

                 20   (“LRRC”). I am counsel for wavve Americas, Inc. (“wA” or “Plaintiff”) in this action. I

                 21   submit this declaration in support of wA’s Motion for Leave to Serve Defendant by
                 22
                      Alternative Means. I make this declaration based on my personal knowledge and could
                 23
                      competently testify to the facts stated herein if called upon to do so.
                 24

                 25                1.            NameCheap, Inc. (“NameCheap”) served the private, unmasked, WHOIS

                 26                              information for each of KOKOA.TV, KOKOATV.NET, and
                 27
                                                 VIDGROUND.COM on wA via email to me on September 12, 2023. A
                 28

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                  1                  true and correct copy of NameCheap’s production was attached to the First
                  2
                                     Amended Complaint as Exhibit AK.
                  3
                               2.    According to the private WHOIS information produced by NameCheap, the
                  4

                  5                  registrant of each of KOKOA.TV, KOKOATV.NET, and

                  6                  VIDGROUND.COM is an individual named Tumi Max residing in
                  7
                                     Thailand.
                  8
                               I declare under penalty of perjury under the laws of the United States of America
                  9

                 10   that the foregoing is true and correct and that this declaration.

                 11            Executed on the 13th day of September 2023, in Los Angeles, California.
                 12

                 13                                              By: /s/ Kyle W. Kellar
                                                                      Kyle W. Kellar
Office Address




                 14                                               Attorneys for Plaintiff Wavve Americas, Inc.
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